     Case 3:04-cv-00251-HSO-ASH           Document 934-1         Filed 08/10/22       Page 1 of 10




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                NORTHERN DIVISION

OLIVIA Y., et al                                 )
                                                 )
Plaintiffs                                       )
                                                 )
v.                                               ) CIVIL ACTION NO. 3:04-cv-251-HSO-FKB
                                                 )
TATE REEVES, as Governor of                      )
the State of Mississippi, et al.                 )
                                                 )
Defendants                                       )



                           DECLARATION OF CLINT PENTECOST

         I, William C. “Clint” Pentecost, an attorney of record in this civil action, make this

declaration under penalty of perjury pursuant to 28 U.S.C. § 1746:

         1.     I am lead counsel for the Defendants in this civil action.

         2.     On July 27, 2022, I e-mailed counsel for Plaintiffs to inform them that “the check

in the amount of $29,500.68 for Invoice #52 is being mailed out to you today.” See Exhibit 1.

         3.     On July 27, 2022, at approximately 2:55 p.m., I received an email from Plaintiffs’

counsel acknowledging Defendants’ payment was being mailed that day. See Exhibit 2.

         4.     On July 27, 2022, at approximately 4:52 p.m., I received a Notice o f Elec tro n ic

Filing that Plaintiffs’ Motion for Payment of Plaintiffs’ Attorneys’ Fees and Expenses related to

Invoice #52 [ECF No. 932] had been filed with the Court.

         I declare under penalty of perjury that the foregoing is true and correct.

         Executed this the 10 th day of August, 2022.


                                               By: /s/ Clint Pentecost
                                                      William C. “Clint” Pentecost (MSB #99841)
Case 3:04-cv-00251-HSO-ASH                         Document 934-1                  Filed 08/10/22   Page 2 of 10


From:              Pentecost, Clint
To:                Anastasia Benedetto
Cc:                Jonathan Borle; Marcia Lowry
Subject:           RE: Olivia Y - Attorneys" Fees for July 1, 2021-Dec. 31, 2021
Date:              Wednesday, July 27, 2022 2:51:45 PM
Attachments:       image002.png
                   image003.png
                   image004.png
                   image005.png


Anastasia,
I just received notice that the check in the amount of $29,500.68 for Invoice #52 is being mailed out
to you today.

Clint Pentecost
Of Counsel
Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
Direct: 601.351.2452
E-mail: cpentecost@bakerdonelson.com


         From: Anastasia Benedetto <abenedetto@abetterchildhood.org>
         Sent: Wednesday, June 22, 2022 8:26 AM
         To: Pentecost, Clint <CPentecost@bakerdonelson.com>
         Cc: Jonathan Borle <jborle@abetterchildhood.org>; Marcia Lowry
         <mlowry@abetterchildhood.org>
         Subject: Re: Olivia Y - Attorneys' Fees for July 1, 2021-Dec. 31, 2021

         Thank you, Clint. We will be submitting this motion to the court shortly.

         Best,
         Anastasia Benedetto
         Staff Attorney
         A Better Childhood
         abenedetto@abetterchildhood.org
         646-477-1781



         From: "Pentecost, Clint" <CPentecost@bakerdonelson.com>
         Date: Monday, June 20, 2022 at 11:35 AM
         To: Anastasia Benedetto <abenedetto@abetterchildhood.org>
         Cc: Jonathan Borle <jborle@abetterchildhood.org>, Marcia Lowry
         <mlowry@abetterchildhood.org>
         Subject: RE: Olivia Y - Attorneys' Fees for July 1, 2021-Dec. 31, 2021

         Anastasia,
         Please see the attached.

         Clint Pentecost
Case 3:04-cv-00251-HSO-ASH                 Document 934-1          Filed 08/10/22      Page 3 of 10


     Of Counsel
     Baker, Donelson, Bearman, Caldwell & Berkowitz, PC
     Direct: 601.351.2452
     E-mail: cpentecost@bakerdonelson.com


              From: Anastasia Benedetto <abenedetto@abetterchildhood.org>
              Sent: Monday, June 6, 2022 3:45 PM
              To: Pentecost, Clint <CPentecost@bakerdonelson.com>
              Cc: Jonathan Borle <jborle@abetterchildhood.org>; Marcia Lowry
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              Clint,

              Please see attached letter. As always, we are available to discuss further.

              Best,
              Anastasia Benedetto
              Staff Attorney
              A Better Childhood
              abenedetto@abetterchildhood.org
              646-477-1781



              From: "Pentecost, Clint" <CPentecost@bakerdonelson.com>
              Date: Thursday, April 28, 2022 at 5:04 PM
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                Clint,

                Please see the attached letter. We are available to discuss, should you
                wish to do so.

                Have a nice weekend,
                Anastasia

                Anastasia Benedetto
                Staff Attorney
                A Better Childhood
                abenedetto@abetterchildhood.org
                646-477-1781



                From: "Pentecost, Clint" <CPentecost@bakerdonelson.com>
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                To: Anastasia Benedetto <abenedetto@abetterchildhood.org>
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                         Please see attached fee application for the period of July 1, 2021
                         – December 31, 2021.

                         Thanks,
Case 3:04-cv-00251-HSO-ASH         Document 934-1               Filed 08/10/22            Page 5 of 10


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                please double delete it from your system immediately without copying,
                reading or disseminating it, and notify the sender by reply e-mail, so that our
                address record can be corrected. Thank you very much.
Case 3:04-cv-00251-HSO-ASH                          Document 934-1                 Filed 08/10/22   Page 6 of 10


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Subject:           Re: Olivia Y - Attorneys" Fees for July 1, 2021-Dec. 31, 2021
Date:              Wednesday, July 27, 2022 2:54:43 PM
Attachments:       image002.png
                   image003.png
                   image004.png
                   image005.png


Great, thank you for letting us know!

Best,
Anastasia Benedetto
Staff Attorney
A Better Childhood
abenedetto@abetterchildhood.org
646-477-1781


From: "Pentecost, Clint" <CPentecost@bakerdonelson.com>
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